                    Case 20-12137            Doc 1       Filed 06/09/20 Entered 06/09/20 10:37:26                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Rainier International, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2415 Comstock Ct.
                                  Naperville, IL 60564
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Will                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Rainier International, LLC                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Rainier International, LLC                                                    Case number (if known)
         Name




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Debtor   Rainier International, LLC                                                                Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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Debtor    Rainier International, LLC                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 8, 2020
                                                  MM / DD / YYYY


                             X   /s/ Sameh Abadeer                                                        Sameh Abadeer
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Paul M. Bach                                                          Date June 8, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Paul M. Bach
                                 Printed name

                                 Bach Law Offices, Inc.
                                 Firm name

                                 P.O. Box 1285
                                 Northbrook, IL 60065
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (847) 564-0808                Email address      pnbach@bachoffices.com

                                 06209530 IL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Debtor     Rainier International, LLC                                                       Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                   Chapter     11
                                                                                                                        Check if this an
                                                                                                                        amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                     Pending Bankruptcy Cases Attachment



Debtor     Monaco International, LLC                                               Relationship to you               Common Ownership
District   Northern District of Illinois              When     6/09/20             Case number, if known
Debtor     Rainier Properties Interntaional, Inc.                                  Relationship to you               Common ownership
District   Northern District of Illinois              When     6/09/20             Case number, if known             20-12136




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 6
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 Fill in this information to identify the case:

 Debtor name         Rainier International, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 8, 2020                            X /s/ Sameh Abadeer
                                                                       Signature of individual signing on behalf of debtor

                                                                       Sameh Abadeer
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                      Case 20-12137                    Doc 1         Filed 06/09/20 Entered 06/09/20 10:37:26                                      Desc Main
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 Fill in this information to identify the case:
 Debtor name Rainier International, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                                Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Rennovate, LLC                                                                                                                                                           $17,000.00
 c/o Mike Larson
 5012 N. 2nd St
 Loves Park, IL 61111
 US Bank, NA                                                     4208 Middlebury                                    $146,753.00               $126,134.00                 $20,619.00
 425 Walnut St                                                   Ave, Rockford, IL
 Cincinnati, OH                                                  61109
 45202                                                           16-05-126-002
 US Bank, NA                                                     4204 Middlebury                                    $146,623.00               $135,184.00                 $11,439.00
 425 Walnut St                                                   Lane, Rockford, IL
 Cincinnati, OH                                                  61109
 45202                                                           PIN: 16-05-126-001




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                                                   Document     Page 9 of 47
 Fill in this information to identify the case:

 Debtor name         Rainier International, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   US Bank, NA                                    Describe debtor's property that is subject to a lien                 $146,623.00               $135,184.00
       Creditor's Name                                4204 Middlebury Lane, Rockford, IL 61109
                                                      PIN: 16-05-126-001
       425 Walnut St
       Cincinnati, OH 45202
       Creditor's mailing address                     Describe the lien
                                                      Fee Simple
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       12/7/2017                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0697
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   US Bank, NA                                    Describe debtor's property that is subject to a lien                 $146,753.00               $126,134.00
       Creditor's Name                                4208 Middlebury Ave, Rockford, IL 61109
                                                      16-05-126-002
       425 Walnut St
       Cincinnati, OH 45202
       Creditor's mailing address                     Describe the lien
                                                      Fee Simple
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       12/7/2017                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0707
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       Rainier International, LLC                                                        Case number (if known)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $293,376.00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Codilis & Associates, P.C.
        15W030 North Frontage Road                                                                        Line   2.1
        Suite 100
        Willowbrook, IL 60527




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Rainier International, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $17,000.00
           Rennovate, LLC                                                       Contingent
           c/o Mike Larson                                                      Unliquidated
           5012 N. 2nd St                                                       Disputed
           Loves Park, IL 61111
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the             Last 4 digits of
                                                                                                      related creditor (if any) listed?                   account number, if
                                                                                                                                                          any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                              0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                         17,000.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                              17,000.00




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Rainier International, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.        State what the contract or                   Lease $900.00/month
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                1 Month
                                                                                    Denise Evans
             List the contract number of any                                        4208 Middlebury #22-1
                   government contract                                              Rockford, IL 61109


 2.2.        State what the contract or                   Lease $850.00/Month
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                39.59 years
                                                                                    Ebra Buah
             List the contract number of any                                        4204 Middleburt #21-1
                   government contract                                              Rockford, IL 61109


 2.3.        State what the contract or                   Lease $750.00/Month
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                39.59 Years
                                                                                    Jenny Johnson
             List the contract number of any                                        4204 Middlebury #21-4
                   government contract                                              Rockford, IL 61109


 2.4.        State what the contract or                   Lease $850.00/Month
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                39.59 Years
                                                                                    Kenneth Knox
             List the contract number of any                                        4208 Middlebury #22-2
                   government contract                                              Rockford, IL 61109




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                 Case 20-12137                    Doc 1          Filed 06/09/20 Entered 06/09/20 10:37:26               Desc Main
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 Debtor 1 Rainier International, LLC                                                         Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Lease $950.00/Month
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                1 Month
                                                                                     Lamedia Exum
             List the contract number of any                                         4208 Middlebury #22-3
                   government contract                                               Rockford, IL 61109


 2.6.        State what the contract or                   Lease $725.00/Month
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                39.59 Years
                                                                                     Latiqa Charles
             List the contract number of any                                         4204 Middlebury #21-3
                   government contract                                               Rockford, IL 61109


 2.7.        State what the contract or                   Lease $725.00/Month
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                1 Month
                                                                                     Terry Dahl
             List the contract number of any                                         4208 Middlebury #22-4
                   government contract                                               Rockford, IL 61109


 2.8.        State what the contract or                   Lease $800.00/Month
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                39.59 Years
                                                                                     Wayne Dipple
             List the contract number of any                                         4204 Middlebury, #21-2
                   government contract                                               Rockford, IL 61109




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Rainier International, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Hanna Abadeer                     2415 Comstock Ct.                                 US Bank, NA                        D   2.1
                                               Naperville, IL 60564                                                                 E/F
                                                                                                                                    G




    2.2      Hanna Abadeer                     2415 Comstock Ct.                                 US Bank, NA                        D   2.2
                                               Naperville, IL 60564                                                                 E/F
                                                                                                                                    G




    2.3      Hanna Abadeer                     2415 Comstock Ct.                                 Rennovate, LLC                     D
                                               Naperville, IL 60564                                                                 E/F       3.1
                                                                                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 1
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                                                               United States Bankruptcy Court
                                                                      Northern District of Illinois
 In re      Rainier International, LLC                                                                                Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Hana Abadeer
 2415 Comstock Ct.
 Naperville, IL 60564


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date June 8, 2020                                                           Signature /s/ Sameh Abadeer
                                                                                            Sameh Abadeer

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Rainier International, LLC                                                                  Case No.
                                                                                  Debtor(s)             Chapter    11




                                                     VERIFICATION OF CREDITOR MATRIX

                                                                                        Number of Creditors:                                    4




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date:       June 8, 2020                                              /s/ Sameh Abadeer
                                                                       Sameh Abadeer/Manager
                                                                       Signer/Title




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                      Codilis & Associates, P.C.
                      15W030 North Frontage Road
                      Suite 100
                      Willowbrook, IL 60527


                      Hanna Abadeer
                      2415 Comstock Ct.
                      Naperville, IL 60564


                      Rennovate, LLC
                      c/o Mike Larson
                      5012 N. 2nd St
                      Loves Park, IL 61111


                      US Bank, NA
                      425 Walnut St
                      Cincinnati, OH 45202
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                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Rainier International, LLC                                                                   Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Rainier International, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Hana Abadeer
 2415 Comstock Ct.
 Naperville, IL 60564




    None [Check if applicable]




 June 8, 2020                                                        /s/ Paul M. Bach
 Date                                                                Paul M. Bach
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Rainier International, LLC
                                                                     Bach Law Offices, Inc.
                                                                     P.O. Box 1285
                                                                     Northbrook, IL 60065
                                                                     (847) 564-0808 Fax:(847) 564-0985
                                                                     pnbach@bachoffices.com




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Form                                             1120-S                             U.S. Income Tax Return for an S Corporation                                                                    OMB No. 1545-0123



                                                                                                                                                                                                    2019
                                                                                                a
                                                                                             Do not file this form unless the corporation has filed or
Department of the Treasury                                                                  is attaching Form 2553 to elect to be an S corporation.
Internal Revenue Service                                                           a Go to www.irs.gov/Form1120S for instructions and the latest information.

For calendar year 2019 or tax year beginning                                                                                                     , 2019, ending                                             , 20
A S election effective date                                                              Name                                                                                    D Employer identification number
                               10/31/2017                                             RAINIER INTERNATIONAL LLC                                                                      XX-XXXXXXX
B Business activity code
                                                                              TYPE       Number, street, and room or suite no. If a P.O. box, see instructions.                  E Date incorporated
  number (see instructions)                                                   OR
                                                                              PRINT   2415 COMSTOCK CT                                                                               10/18/2017
                               532289                                                    City or town, state or province, country, and ZIP or foreign postal code                F Total assets (see instructions)
C Check if Sch. M-3 attached                                                          NAPERVILLE IL 60564                                                                        $                           0.
G                                               Is the corporation electing to be an S corporation beginning with this tax year?         Yes     No If “Yes,” attach Form 2553 if not already filed
H                                               Check if: (1)    Final return (2)    Name change (3)             Address change (4)       Amended return (5)          S election termination or revocation
I                                               Enter the number of shareholders who were shareholders during any part of the tax year . . . . . . . . a                                                1
J                                               Check if corporation: (1)     Aggregated activities for section 465 at-risk purposes (2)    Grouped activities for section 469 passive activity purposes
Caution: Include only trade or business income and expenses on lines 1a through 21. See the instructions for more information.
                                                  1a    Gross receipts or sales     . . . . . . . . . . . . . . . .                      1a
                                                    b   Returns and allowances . . . . . . . . . . . . . . . .                           1b
                                                    c   Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . . . .                                                   1c
Income




                                                  2     Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . . .                                                     2
                                                  3     Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . .                                                  3
                                                  4     Net gain (loss) from Form 4797, line 17 (attach Form 4797) . . . . . . . . . . . . .                                              4
                                                  5     Other income (loss) (see instructions—attach statement) . . . . . . . . . . . . . .                                               5
                                                  6     Total income (loss). Add lines 3 through 5 . . . . . . . . . . . . . . . . . a                                                    6
                                                  7     Compensation of officers (see instructions—attach Form 1125-E) . . . . . . . . . . .                                              7
Deductions (see instructions for limitations)




                                                  8     Salaries and wages (less employment credits) . . . . . . . . . . . . . . . . .                                                    8
                                                  9     Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . .                                                           9
                                                 10     Bad debts      . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           10
                                                 11     Rents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                11
                                                 12     Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           12
                                                 13     Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . . .                                                      13
                                                 14     Depreciation not claimed on Form 1125-A or elsewhere on return (attach Form 4562) . . . . .                                      14
                                                 15     Depletion (Do not deduct oil and gas depletion.) . . . . . . . . . . . . . . . .                                                 15
                                                 16     Advertising . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                              16
                                                 17     Pension, profit-sharing, etc., plans . . . . . . . . . . . . . . . . . . . . .                                                   17
                                                 18     Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . .                                                          18
                                                 19     Other deductions (attach statement) . See    . . Statement
                                                                                                           . . . . . . . . . . . . . . . . .                                             19
                                                 20     Total deductions. Add lines 7 through 19        . . . . . . . . . . . . . . . . . a                                              20
                                                 21     Ordinary business income (loss). Subtract line 20 from line 6 . . . . . . . . . . . .                                            21
                                                 22a    Excess net passive income or LIFO recapture tax (see instructions) . . .        22a
                                                    b   Tax from Schedule D (Form 1120-S) . . . . . . . . . . . .                       22b
                                                    c   Add lines 22a and 22b (see instructions for additional taxes) . . . . . . . . . . . . .                                          22c
Tax and Payments




                                                 23a    2019 estimated tax payments and 2018 overpayment credited to 2019            .  23a
                                                    b   Tax deposited with Form 7004 . . . . . . . . . . . . . .                        23b                 0.
                                                    c   Credit for federal tax paid on fuels (attach Form 4136) . . . . . . .           23c
                                                    d   Reserved for future use . . . . . . . . . . . . . . . .                         23d
                                                    e   Add lines 23a through 23d . . . . . . . . . . . . . . . . . . . . . . .                                                          23e                         0.
                                                 24     Estimated tax penalty (see instructions). Check if Form 2220 is attached . . . . . . . a                                          24
                                                 25     Amount owed. If line 23e is smaller than the total of lines 22c and 24, enter amount owed . . .                                   25                         0.
                                                 26     Overpayment. If line 23e is larger than the total of lines 22c and 24, enter amount overpaid . . .                                26
                                                 27     Enter amount from line 26: Credited to 2020 estimated tax a                              Refunded a                               27
                                                        Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and
                                                        belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign
                                                                                                                                                                                      May the IRS discuss this return
                                                        F




                                                                                                                                          F




Here                                                                                                                                          PRESIDENT                               with the preparer shown below?
                                                            Signature of officer                                          Date                Title                                   See instructions.    Yes     No
                                                            Print/Type preparer’s name                        Preparer’s signature                                Date           Check      if       PTIN
Paid                                                                                                                                                                             self-employed
         SUSANA COYT                                                                                                                                                                             P01715144
Preparer
         Firm’s name a TAXPERTS ASSOCIATION INC                                                                                                                                  Firm’s EIN    XX-XXXXXXX
                                                                                                                                                                                               a
Use Only Firm’s address a 600 S Weber Rd Romeoville IL 60446                                                                                                                        Phone no. (815)600-6784
For Paperwork Reduction Act Notice, see separate instructions.                                                             BAA                                           REV 04/21/20 PRO       Form 1120-S (2019)
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Form 1120-S (2019)                                                                                                                                         Page   2
Schedule B             Other Information (see instructions)
  1       Check accounting method:       a        Cash      b       Accrual                                                                            Yes No
                                         c        Other (specify) a
  2       See the instructions and enter the:
          a Business activity a SERVICE                                      b Product or service a RENTAL
  3       At any time during the tax year, was any shareholder of the corporation a disregarded entity, a trust, an estate, or a
          nominee or similar person? If “Yes,” attach Schedule B-1, Information on Certain Shareholders of an S Corporation . .
  4       At the end of the tax year, did the corporation:
      a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total stock issued and outstanding of any
          foreign or domestic corporation? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v)
          below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 (i) Name of Corporation            (ii) Employer            (iii) Country of      (iv) Percentage of      (v) If Percentage in (iv) Is 100%, Enter
                                                    Identification            Incorporation           Stock Owned         the Date (if any) a Qualified Subchapter
                                                   Number (if any)                                                            S Subsidiary Election Was Made




      b   Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss, or
          capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial interest of a
          trust? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v) below . . . . . . .
                     (i) Name of Entity             (ii) Employer          (iii) Type of Entity         (iv) Country of         (v) Maximum Percentage Owned
                                                    Identification                                       Organization                in Profit, Loss, or Capital
                                                   Number (if any)




  5a      At the end of the tax year, did the corporation have any outstanding shares of restricted stock? . . . . . . .                         .
          If “Yes,” complete lines (i) and (ii) below.
          (i)   Total shares of restricted stock . . . . . . . . . . a
          (ii) Total shares of non-restricted stock . . . . . . . . . a
      b   At the end of the tax year, did the corporation have any outstanding stock options, warrants, or similar instruments?                  .
          If “Yes,” complete lines (i) and (ii) below.
          (i)   Total shares of stock outstanding at the end of the tax year   . a
          (ii) Total shares of stock outstanding if all instruments were executed a
  6       Has this corporation filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
          information on any reportable transaction?     . . . . . . . . . . . . . . . . . . . . . . . .
  7       Check this box if the corporation issued publicly offered debt instruments with original issue discount . . . . a
          If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount
          Instruments.
  8       If the corporation (a) was a C corporation before it elected to be an S corporation or the corporation acquired an asset with a
          basis determined by reference to the basis of the asset (or the basis of any other property) in the hands of a C corporation and
          (b) has net unrealized built-in gain in excess of the net recognized built-in gain from prior years, enter the net unrealized built-in
          gain reduced by net recognized built-in gain from prior years. See instructions . . . . . . a $
  9       Did the corporation have an election under section 163(j) for any real property trade or business or any farming business
          in effect during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . .
 10       Does the corporation satisfy one or more of the following? See instructions . . . . . . . . . . . . . .
      a   The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
      b   The corporation’s aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
          preceding the current tax year are more than $26 million and the corporation has business interest expense.
      c   The corporation is a tax shelter and the corporation has business interest expense.
          If “Yes,” complete and attach Form 8990.
 11       Does the corporation satisfy both of the following conditions? . . . . . . . . . . . . . . . . . .
      a   The corporation’s total receipts (see instructions) for the tax year were less than $250,000.
      b   The corporation’s total assets at the end of the tax year were less than $250,000.
          If “Yes,” the corporation is not required to complete Schedules L and M-1.
                                                                                                                                             Form 1120-S (2019)
                                                                          REV 04/21/20 PRO
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Form 1120-S (2019)                                                                                                                                            Page   3
Schedule B                            Other Information (see instructions) (continued)                                                                      Yes   No
 12                        During the tax year, did the corporation have any non-shareholder debt that was canceled, was forgiven, or had            the
                           terms modified so as to reduce the principal amount of the debt? . . . . . . . . . . . . . . . .                           .
                           If “Yes,” enter the amount of principal reduction . . . . . . . . . . . . . . a $
 13                        During the tax year, was a qualified subchapter S subsidiary election terminated or revoked? If “Yes,” see instructions   .
 14a                       Did the corporation make any payments in 2019 that would require it to file Form(s) 1099? . . . . . . . . .               .
    b                      If “Yes,” did the corporation file or will it file required Form(s) 1099? . . . . . . . . . . . . . . . .                 .
 15                        Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund? . . . . . . . . . . .                  .
                           If “Yes,” enter the amount from Form 8996, line 14 . . . . . . . . . . . . . a $
Schedule K                            Shareholders’ Pro Rata Share Items                                                                         Total amount
                               1   Ordinary business income (loss) (page 1, line 21) . . . . . . . . . . . . . . .                         1
                               2   Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . . . .                       2               -12,145.
                               3a  Other gross rental income (loss) . . . . . . . . . . . .                     3a
                                 b Expenses from other rental activities (attach statement)        . . . .      3b
                                 c Other net rental income (loss). Subtract line 3b from line 3a . . . . . . . . . . .                    3c
    Income (Loss)




                               4   Interest income . . . . . . . . . . . . . . . . . . . . . . . . .                                       4
                               5   Dividends: a Ordinary dividends . . . . . . . . . . . . . . . . . . . .                                5a
                                               b Qualified dividends . . . . . . . . . . . .                    5b
                               6   Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         6
                               7   Net short-term capital gain (loss) (attach Schedule D (Form 1120-S))       . . . . . . . .              7
                               8a Net long-term capital gain (loss) (attach Schedule D (Form 1120-S)) . . . . . . . . .                   8a
                                 b Collectibles (28%) gain (loss) . . . . . . . . . . . . .                     8b
                                 c Unrecaptured section 1250 gain (attach statement) . . . . . .                8c
                               9   Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . . . .                           9
                              10   Other income (loss) (see instructions) . . . Type a                                                    10
                              11   Section 179 deduction (attach Form 4562) . . . . . . . . . . . . . . . . .                             11
    Deductions




                              12a Charitable contributions . . . . . . . . . . . . . . . . . . . . . .                                   12a
                                 b Investment interest expense . . . . . . . . . . . . . . . . . . . . .                                 12b
                                 c Section 59(e)(2) expenditures (1) Type a                                                (2) Amount a 12c(2)
                                 d Other deductions (see instructions) . . . . Type a                                                    12d
                              13a Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . . . .                           13a
                                 b Low-income housing credit (other) . . . . . . . . . . . . . . . . . . .                               13b
                                 c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) . .      13c
    Credits




                                 d Other rental real estate credits (see instructions) Type a                                            13d
                                 e Other rental credits (see instructions) . . . Type a                                                  13e
                                 f Biofuel producer credit (attach Form 6478)       . . . . . . . . . . . . . . . .                      13f
                                 g Other credits (see instructions) . . . . . Type a                                                     13g
                              14a Name of country or U.S. possession a
                                 b Gross income from all sources . . . . . . . . . . . . . . . . . . . .                                 14b
                                 c Gross income sourced at shareholder level . . . . . . . . . . . . . . . .                             14c
                                   Foreign gross income sourced at corporate level
                                 d Reserved for future use . . . . . . . . . . . . . . . . . . . . . . .                                 14d
                                 e Foreign branch category . . . . . . . . . . . . . . . . . . . . . .                                   14e
                                 f Passive category       . . . . . . . . . . . . . . . . . . . . . . . .                                14f
                                 g General category       . . . . . . . . . . . . . . . . . . . . . . . .                                14g
    Foreign Transactions




                                 h Other (attach statement) . . . . . . . . . . . . . . . . . . . . . .                                  14h
                                   Deductions allocated and apportioned at shareholder level
                                 i Interest expense . . . . . . . . . . . . . . . . . . . . . . . . .                                    14i
                                 j Other . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         14j
                                   Deductions allocated and apportioned at corporate level to foreign source income
                                 k Reserved for future use . . . . . . . . . . . . . . . . . . . . . . .                                 14k
                                 l Foreign branch category . . . . . . . . . . . . . . . . . . . . . .                                   14l
                                 m Passive category       . . . . . . . . . . . . . . . . . . . . . . . .                               14m
                                 n General category       . . . . . . . . . . . . . . . . . . . . . . . .                                14n
                                 o Other (attach statement) . . . . . . . . . . . . . . . . . . . . . .                                  14o
                                   Other information
                                 p Total foreign taxes (check one):        Paid        Accrued . . . . . . . . . . . a                   14p
                                 q Reduction in taxes available for credit (attach statement) . . . . . . . . . . . .                    14q
                                 r Other foreign tax information (attach statement)
                                                                                     REV 04/21/20 PRO                                            Form 1120-S (2019)
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Form 1120-S (2019)                                                                                                                                                        Page   4
Schedule K                             Shareholders’ Pro Rata Share Items (continued)                                                                        Total amount
                              15a    Post-1986 depreciation adjustment . . . . . . . . . . . . . . . .                         .   .    .      15a                           0.
 Minimum Tax
 (AMT) Items
  Alternative



                                b    Adjusted gain or loss . . . . . . . . . . . . . . . . . . . .                             .   .    .      15b
                                c    Depletion (other than oil and gas)    . . . . . . . . . . . . . . . .                     .   .    .      15c
                                d    Oil, gas, and geothermal properties—gross income . . . . . . . . . . .                    .   .    .      15d
                                e    Oil, gas, and geothermal properties—deductions . . . . . . . . . . . .                    .   .    .      15e
                                f    Other AMT items (attach statement) . . . . . . . . . . . . . . . .                        .   .    .      15f
 Items Affecting




                              16a    Tax-exempt interest income . . . . . . . . . . . . . . . . . .                            .   .    .      16a
   Shareholder




                                b    Other tax-exempt income . . . . . . . . . . . . . . . . . . .                             .   .    .      16b
      Basis




                                c    Nondeductible expenses . . . . . . . . . . . . . . . . . . .                              .   .    .      16c
                                d    Distributions (attach statement if required) (see instructions) . . . . . . . .           .   .    .      16d
                                e    Repayment of loans from shareholders . . . . . . . . . . . . . . .                        .   .    .      16e
   ciliation Information




                              17a    Investment income . . . . . . . . . . . . . . . . . . . . .                               .   .    .      17a
                Other




                                b    Investment expenses . . . . . . . . . . . . . . . . . . . .                               .   .    .      17b
                                c    Dividend distributions paid from accumulated earnings and profits . . . . . .             .   .    .      17c
                                d    Other items and amounts (attach statement) ** SEC 199A INFO: SEE STMT                     A
   Recon-




                              18     Income (loss) reconciliation. Combine the amounts on lines 1 through 10 in the far right
                                     column. From the result, subtract the sum of the amounts on lines 11 through 12d and 14p .                18                  -12,145.
Schedule L                             Balance Sheets per Books                              Beginning of tax year                           End of tax year
                                                    Assets                                 (a)                   (b)                   (c)                          (d)
  1                        Cash . . . . . . . . . . . . .
  2a                       Trade notes and accounts receivable . . .
    b                      Less allowance for bad debts . . . . . .                 (                  )                   (                         )
  3                        Inventories       . . . . . . . . . . .
  4                        U.S. government obligations . . . . . .
  5                        Tax-exempt securities (see instructions) . .
  6                        Other current assets (attach statement) . . .
  7                        Loans to shareholders . . . . . . . .
  8                        Mortgage and real estate loans . . . . .
  9                        Other investments (attach statement) . . .
 10a                       Buildings and other depreciable assets . . .
    b                      Less accumulated depreciation . . . . .                  (                  )                   (                         )
 11a                       Depletable assets . . . . . . . . .
    b                      Less accumulated depletion . . . . . .                   (                  )                   (                         )
 12                        Land (net of any amortization) . . . . . .
 13a                       Intangible assets (amortizable only) . . . .
    b                      Less accumulated amortization . . . . .                  (                  )                   (                         )
 14                        Other assets (attach statement) . . . . .
 15                        Total assets . . . . . . . . . . .
                                   Liabilities and Shareholders’ Equity
 16                        Accounts payable . . . . . . . . .
 17                        Mortgages, notes, bonds payable in less than 1 year
 18                        Other current liabilities (attach statement) . .
 19                        Loans from shareholders . . . . . . .
 20                        Mortgages, notes, bonds payable in 1 year or more
 21                        Other liabilities (attach statement) . . . .
 22                        Capital stock . . . . . . . . . . .
 23                        Additional paid-in capital . . . . . . .
 24                        Retained earnings . . . . . . . . .
 25                        Adjustments to shareholders’ equity (attach statement)
 26                        Less cost of treasury stock . . . . . .                                         (           )                                 (                       )
 27                        Total liabilities and shareholders’ equity      . .
                                                                                        REV 04/21/20 PRO                                                     Form 1120-S (2019)
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Form 1120-S (2019)                                                                                                                                               Page   5
Schedule M-1            Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                        Note: The corporation may be required to file Schedule M-3. See instructions.
  1       Net income (loss) per books      .   .   .   .                             5           Income recorded on books this year
  2       Income included on Schedule K, lines 1, 2,                                             not included on Schedule K, lines 1
          3c, 4, 5a, 6, 7, 8a, 9, and 10, not recorded                                           through 10 (itemize):
          on books this year (itemize)                                                a          Tax-exempt interest $


  3       Expenses recorded on books this year                                       6           Deductions included on Schedule K,
          not included on Schedule K, lines 1                                                    lines 1 through 12 and 14p, not charged
          through 12 and 14p (itemize):                                                          against book income this year (itemize):
      a   Depreciation $                                                              a          Depreciation $

      b   Travel and entertainment $                                                 7           Add lines 5 and 6 . . . . . . .
                                                                                     8           Income (loss) (Schedule K, line 18).
  4       Add lines 1 through 3    .   .   .   .   .   .                                         Subtract line 7 from line 4 . . . .
Schedule M-2            Analysis of Accumulated Adjustments Account, Shareholders’ Undistributed Taxable Income
                        Previously Taxed, Accumulated Earnings and Profits, and Other Adjustments Account
                        (see instructions)
                                                                       (a) Accumulated               (b) Shareholders’      (c) Accumulated       (d) Other adjustments
                                                                     adjustments account           undistributed taxable   earnings and profits          account
                                                                                                 income previously taxed

  1       Balance at beginning of tax year . . . . .                       -31,485.
  2       Ordinary income from page 1, line 21 . . .
  3       Other additions . . . . . . . . . .
  4       Loss from page 1, line 21 . . . . . . .                (                           )
  5       Other reductions NET
                           . .LOSS. FROM
                                      . RENTAL
                                         . . REAL
                                               . . ESTATE
                                                      . .        (          12,145. )                                                             (                       )
  6       Combine lines 1 through 5 . . . . . . .                          -43,630.
  7       Distributions . . . . . . . . . . .
  8       Balance at end of tax year. Subtract line 7 from
          line 6 . . . . . . . . . . . . .                                 -43,630.
                                                                          REV 04/21/20 PRO                                                            Form 1120-S (2019)
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Form   8825
(Rev. November 2018)
                                 Rental Real Estate Income and Expenses of a
                                        Partnership or an S Corporation                                                 OMB No. 1545-0123
                                                    aAttach to Form 1065 or Form 1120S.
Department of the Treasury
Internal Revenue Service                   a Go to www.irs.gov/Form8825 for the latest information.
Name                                                                                                        Employer identification number

RAINIER INTERNATIONAL LLC                                                                                   XX-XXXXXXX
   1    Show the type and address of each property. For each rental real estate property listed, report the number of days rented at fair
        rental value and days with personal use. See instructions. See page 2 to list additional properties.
        Physical address of each property—street, city, state,      Type—Enter code 1–8;
                                                                                               Fair Rental Days   Personal Use Days
        ZIP code                                                      see page 2 for list
    4204 MIDDLEBURY LANE
  A
    ROCKFORD, IL 61107                                              1                                        365                             0
    4208 MIDDLEBURY LANE
  B
    Carpentersville, IL 60110                                       1                                        365                             0
  C

  D

                                                                                           Properties
     Rental Real Estate Income                            A                         B                   C                      D
   2 Gross rents . . . . . . .              2           29,960                    24,483

       Rental Real Estate Expenses
  3    Advertising . . . . . . .            3
  4    Auto and travel . . . . .            4
  5    Cleaning and maintenance . .         5
  6    Commissions . . . . . .              6
  7    Insurance . . . . . . .              7           3,075                      3,075
  8    Legal and other professional fees    8
  9    Interest (see instructions) . .      9           9,592                     10,214
 10    Repairs . . . . . . . .             10           6,522                      6,522
 11    Taxes      . . . . . . . .          11           5,794                      5,794
 12    Utilities . . . . . . . .           12
 13    Wages and salaries . . . .          13
 14    Depreciation (see instructions)     14           8,000                      8,000
 15    Other (list) a
                                           15


 16 Total expenses for each property.
     Add lines 3 through 15 . . .         16         32,983                33,605
 17 Income or (loss) from each property.
     Subtract line 16 from line 2 . .     17         -3,023                -9,122
 18a Total gross rents. Add gross rents from line 2, columns A through H . . . . . . . . . .                 18a             54,443
   b Total expenses. Add total expenses from line 16, columns A through H . . . . . . . . .                  18b (           66,588          )
 19 Net gain (loss) from Form 4797, Part II, line 17, from the disposition of property from rental real
     estate activities . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  19
 20a Net income (loss) from rental real estate activities from partnerships, estates, and trusts in which
     this partnership or S corporation is a partner or beneficiary (from Schedule K-1) . . . . . .           20a
   b Identify below the partnerships, estates, or trusts from which net income (loss) is shown on line
     20a. Attach a schedule if more space is needed.

       (1) Name                                           (2) Employer identification number




 21 Net rental real estate income (loss). Combine lines 18a through 20a. Enter the result here and on:        21           -12,145
    • Form 1065 or 1120S: Schedule K, line 2
For Paperwork Reduction Act Notice, see instructions.                                                                Form 8825 (Rev. 11-2018)


BAA                                                            REV 04/21/20 PRO
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Form 8825 (Rev. 11-2018)                                                                                                          Page   2
  1    Show the type and address of each property. For each rental real estate property listed, report the number of days rented at fair
       rental value and days with personal use. See instructions.
       Physical address of each property—street, city, state,     Type—Enter code 1–8;
                                                                                            Fair Rental Days     Personal Use Days
       ZIP code                                                     see below for list

  E

  F

  G

  H

                                                                                    Properties
    Rental Real Estate Income                           E                       F                   G                      H
  2 Gross rents . . . . . . .             2

      Rental Real Estate Expenses
  3   Advertising . . . . . . .            3
  4   Auto and travel . . . . .            4
  5   Cleaning and maintenance . .         5
  6   Commissions . . . . . .              6
  7   Insurance . . . . . . .              7
  8   Legal and other professional fees    8
  9   Interest (see instructions) . .      9
 10   Repairs . . . . . . . .             10
 11   Taxes      . . . . . . . .          11
 12   Utilities . . . . . . . .           12
 13   Wages and salaries . . . .          13
 14   Depreciation (see instructions)     14
 15   Other (list) a
                                          15


 16 Total expenses for each property.
     Add lines 3 through 15 . . .        16
 17 Income or (loss) from each property.
     Subtract line 16 from line 2 . .    17
Allowable Codes for Type of Property
1—Single Family Residence
2—Multi-Family Residence
3—Vacation or Short-Term Rental
4—Commercial
5—Land
6—Royalties
7—Self-Rental
8—Other (include description with the code on Form 8825 or on a separate statement)
                                                             REV 04/21/20 PRO                                    Form 8825 (Rev. 11-2018)
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                                                                                                             Final K-1                 Amended K-1                      OMB No. 1545-0123
Schedule K-1
(Form 1120-S)                                                                        2019              Part III Shareholder’s Share of Current Year Income,
                                                                                                                    Deductions, Credits, and Other Items
Department of the Treasury                                                                              1   Ordinary business income (loss)        13    Credits
                                                                 For calendar year 2019, or tax year
Internal Revenue Service

                                                                                                        2   Net rental real estate income (loss)
                        beginning         /      /   2019            ending      /      /
                                                                                                                                  -12,145.
Shareholder’s Share of Income, Deductions,                                                              3   Other net rental income (loss)
Credits, etc.       a See back of form and separate instructions.

                                                                                                        4   Interest income
                   Part I     Information About the Corporation
   A                 Corporation’s employer identification number                                       5a Ordinary dividends
                     XX-XXXXXXX
   B                 Corporation’s name, address, city, state, and ZIP code                             5b Qualified dividends                     14    Foreign transactions
                     RAINIER INTERNATIONAL LLC
                                                                                                        6   Royalties
                     2415 COMSTOCK CT
                     NAPERVILLE IL 60564                                                                7   Net short-term capital gain (loss)


   C                 IRS Center where corporation filed return                                          8a Net long-term capital gain (loss)
                     Kansas City, MO                    64999-0013
                                                                                                        8b Collectibles (28%) gain (loss)
                   Part II    Information About the Shareholder
   D                 Shareholder’s identifying number                                                   8c Unrecaptured section 1250 gain
                     XXX-XX-XXXX
   E                 Shareholder’s name, address, city, state, and ZIP code                             9   Net section 1231 gain (loss)
                     HANA ABADEER
                                                                                                       10   Other income (loss)                    15    Alternative minimum tax (AMT) items
                     2415 COMSTOCK CT                                                                                                              A                                   0.
                     NAPERVILLE IL 60564


    F                Shareholder’s percentage of stock
                     ownership for tax year . . . .         .    .    .        100.00000         %




                                                                                                       11   Section 179 deduction                  16    Items affecting shareholder basis


                                                                                                       12   Other deductions
For IRS Use Only




                                                                                                                                                   17    Other information

                                                                                                                                                   V * STMT




                                                                                                       18       More than one activity for at-risk purposes*
                                                                                                       19       More than one activity for passive activity purposes*


                                                                                                              * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                        www.irs.gov/Form1120S         REV 04/21/20 PRO         Schedule K-1 (Form 1120-S) 2019
BAA
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Schedule K-1 (Form 1120-S) 2019                                                                                                                                       Page     2
This list identifies the codes used on Schedule K-1 for all shareholders and provides summarized reporting information for shareholders who file Form 1040
or 1040-SR. For detailed reporting and filing information, see the separate Shareholder’s Instructions for Schedule K-1 and the instructions for your income
tax return.




                                                                                                                                     }
 1.  Ordinary business income (loss). Determine whether the income (loss) is                     Code                                     Report on
     passive or nonpassive and enter on your return as follows:
                                                                                                 N Credit for employer social
                                             Report on                                             security and Medicare taxes
     Passive loss                            See the Shareholder’s Instructions                                                           See the Shareholder’s Instructions
                                                                                                 O Backup withholding
     Passive income                          Schedule E, line 28, column (h)
                                                                                                 P Other credits
     Nonpassive loss                         See the Shareholder’s Instructions




                                                                                                                                     }
     Nonpassive income                       Schedule E, line 28, column (k)              14.    Foreign transactions
 2. Net rental real estate income (loss) See the Shareholder’s Instructions                       A Name of country or U.S.
                                                                                                     possession
 3. Other net rental income (loss)
                                                                                                  B Gross income from all sources       Form 1116, Part I
     Net income                              Schedule E, line 28, column (h)
     Net loss                                See the Shareholder’s Instructions                   C Gross income sourced at
                                                                                                     shareholder level
 4. Interest income                          Form 1040 or 1040-SR, line 2b
                                                                                                 Foreign gross income sourced at corporate level




                                                                                                                                     }
 5a. Ordinary dividends                      Form 1040 or 1040-SR, line 3b                        D Reserved for future use
 5b. Qualified dividends                     Form 1040 or 1040-SR, line 3a                        E Foreign branch category
 6. Royalties                                Schedule E, line 4                                   F Passive category
                                                                                                                                        Form 1116, Part I
 7. Net short-term capital gain (loss)       Schedule D, line 5                                   G General category
 8a. Net long-term capital gain (loss)       Schedule D, line 12                                  H Other
 8b. Collectibles (28%) gain (loss)          28% Rate Gain Worksheet, line 4                     Deductions allocated and apportioned at shareholder level
                                             (Schedule D instructions)                            I Interest expense                    Form 1116, Part I
 8c. Unrecaptured section 1250 gain          See the Shareholder’s Instructions                   J Other                               Form 1116, Part I
 9. Net section 1231 gain (loss)             See the Shareholder’s Instructions                  Deductions allocated and apportioned at corporate level to foreign source
                                                                                                 income
10. Other income (loss)



                                                                                                                                     }
                                                                                                  K Reserved for future use
     Code
                                                                                                  L Foreign branch category
     A Other portfolio income (loss)         See the Shareholder’s Instructions
                                                                                                  M Passive category
     B Involuntary conversions               See the Shareholder’s Instructions                                                         Form 1116, Part I
                                                                                                  N General category
     C Sec. 1256 contracts & straddles       Form 6781, line 1
                                                                                                O Other
     D Mining exploration costs recapture See Pub. 535




                                           }
                                                                                               Other information
     E Reserved for future use
                                                                                                P Total foreign taxes paid                Form 1116, Part II
      F Section 965(a) inclusion
                                                                                                Q Total foreign taxes accrued             Form 1116, Part II
     G Income under subpart F (other
                                                                                                R Reduction in taxes available for
        than inclusions under sections       See the Shareholder’s Instructions
                                                                                                  credit                                  Form 1116, line 12
        951A and 965)
                                                                                                S Foreign trading gross receipts          Form 8873
     H Other income (loss)
                                                                                                T Extraterritorial income exclusion       Form 8873




                                          }
11. Section 179 deduction                    See the Shareholder’s Instructions
                                                                                                U Section 965 information                 See the Shareholder’s Instructions
12. Other deductions                                                                            V Other foreign transactions              See the Shareholder’s Instructions




                                                                                                                                     }
     A Cash contributions (60%)
                                                                                          15. Alternative minimum tax (AMT) items
     B Cash contributions (30%)
                                                                                                A Post-1986 depreciation adjustment
     C Noncash contributions (50%)
                                                                                                B Adjusted gain or loss
     D Noncash contributions (30%)
                                              See the Shareholder’s Instructions                C Depletion (other than oil & gas)        See the Shareholder’s Instructions
     E Capital gain property to a 50%                                                                                                     and the Instructions for Form 6251
                                                                                                D Oil, gas, & geothermal—gross income
        organization (30%)
                                                                                                E Oil, gas, & geothermal—deductions
      F Capital gain property (20%)
                                                                                                F Other AMT items
     G Contributions (100%)
                                                                                          16. Items affecting shareholder basis




                                                                                                                                     }
     H Investment interest expense           Form 4952, line 1
      I Deductions—royalty income            Schedule E, line 19                                A Tax-exempt interest income              Form 1040 or 1040-SR, line 2a
      J Section 59(e)(2) expenditures        See the Shareholder’s Instructions                 B Other tax-exempt income
     K Section 965(c) deduction              See the Shareholder’s Instructions                 C Nondeductible expenses
                                                                                                D Distributions                           See the Shareholder’s Instructions
      L Deductions—portfolio (other)         Schedule A, line 16
     M Preproductive period expenses         See the Shareholder’s Instructions                 E Repayment of loans from
                                                                                                  shareholders
     N Commercial revitalization deduction
        from rental real estate activities   See Form 8582 instructions                   17. Other information
     O Reforestation expense deduction       See the Shareholder’s Instructions                 A Investment income                       Form 4952, line 4a




                                               }
     P through R                             Reserved for future use                            B Investment expenses                     Form 4952, line 5
     S Other deductions                      See the Shareholder’s Instructions                 C Qualified rehabilitation expenditures
13. Credits                                                                                       (other than rental real estate)         See the Shareholder’s Instructions
                                                                                                D Basis of energy property                See the Shareholder’s Instructions
     A Low-income housing credit (section
        42(j)(5)) from pre-2008 buildings                                                       E Recapture of low-income housing
                                                                                                  credit (section 42(j)(5))               Form 8611, line 8
     B Low-income housing credit (other)
        from pre-2008 buildings                                                                 F Recapture of low-income housing
                                                                                                  credit (other)                          Form 8611, line 8
     C Low-income housing credit (section
                                                                                                G Recapture of investment credit          See Form 4255
        42(j)(5)) from post-2007 buildings
                                                   See the Shareholder’s                        H Recapture of other credits              See the Shareholder’s Instructions
     D Low-income housing credit (other)           Instructions
        from post-2007 buildings                                                                I Look-back interest—completed
                                                                                                  long-term contracts                     See Form 8697
     E Qualified rehabilitation expenditures
                                                                                                J Look-back interest—income




                                                                                                                                     }
        (rental real estate)
                                                                                                  forecast method                         See Form 8866
      F Other rental real estate credits
                                                                                                K Dispositions of property with
     G Other rental credits
                                                                                                  section 179 deductions




                                               }
                                             Schedule 3 (Form 1040 or 1040-SR), line
     H Undistributed capital gains credit                                                       L Recapture of section 179 deduction      See the Shareholder’s Instructions
                                             13, box a
                                                                                                M through U
      I Biofuel producer credit
                                                                                                V Section 199A information
      J Work opportunity credit



                                                                                                                                     }
     K Disabled access credit                      See the Shareholder’s                        W through Z                               Reserved for future use
                                                   Instructions                                AA Excess taxable income
      L Empowerment zone employment credit
                                                                                               AB Excess business interest income         See the Shareholder’s Instructions
     M Credit for increasing research
        activities                                                                             AC Other information
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RAINIER INTERNATIONAL LLC                                                                XX-XXXXXXX                 1



Additional information from your Schedule K-1:Shareholder's Share of Income, Deductions, Credits, etc. (HANA ABADEER )

Schedule K-1:Shareholder's Share of Income, Deductions, Credits, etc. (HANA ABADEER )
Form 8825 Rental Inc/Loss Details for Reporting Purposes                    Continuation Statement
                                     Description                                                  Amount
4204 MIDDLEBURY LANE
PROPERTY TYPE: 1 SINGLE FAMILY RES                                                                          -3,023.
4208 MIDDLEBURY
PROPERTY TYPE: 1 SINGLE FAMILY RES                                                                          -9,122.
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Corporation's name:       RAINIER INTERNATIONAL LLC                                                                  Corporation's EIN:   XX-XXXXXXX
Shareholder's name:     HANA ABADEER                                                          Shareholder's identifying no: XXX-XX-XXXX


                                                                                              4204 MIDDLEBURY LANE 4208 MIDDLEBURY

                                                                                                                                     
                                                                                                ½½È»½·Ê»º            ½½È»½·Ê»º           ½½È»½·Ê»º
                                                                                                                                 
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
                  Èº¿Ä·ÈÏ¸ËÉ¿Ä»ÉÉ¿Ä¹ÅÃ»ƺÂÅÉÉƻ         Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ

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                   ÅÏ·ÂÊÏ¿Ä¹ÅÃ»ƺÂÅÉÉƻ        Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ

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Corporation's name:                                                                                                  Corporation's EIN:
Shareholder's name:                                                                           Shareholder's identifying no:




                                                                                                                                     
                                                                                                ½½È»½·Ê»º            ½½È»½·Ê»º           ½½È»½·Ê»º
                                                                                                                                 
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
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                                                                                  REV 04/21/20 PRO
               Case 20-12137                 Doc 1         Filed 06/09/20 Entered 06/09/20 10:37:26                                              Desc Main
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                                                                                                                                                          OMB No. 1545-0123
Form   8879-S                      IRS e-file Signature Authorization for Form 1120-S
                                                                                                                                                             2019
                                                   a   ERO must obtain and retain completed Form 8879-S.
                                                 a Go   to www.irs.gov/Form8879S for the latest information.
Department of the Treasury
Internal Revenue Service   For calendar year 2019, or tax year beginning                      , 2019, and ending                        , 20         .
Name of corporation                                                                                                        Employer identification number
RAINIER INTERNATIONAL LLC                                                                                                  XX-XXXXXXX
 Part I Tax Return Information (Whole dollars only)
  1      Gross receipts or sales less returns and allowances (Form 1120-S, line 1c)                      .   .     .   .    .   .   .     .     .        1
  2      Gross profit (Form 1120-S, line 3) . . . . . . . . . . . . . .                                  .   .     .   .    .   .   .     .     .
  3      Ordinary business income (loss) (Form 1120-S, line 21) . . . . . . .                            .   .     .   .    .   .   .     .     .        3
  4      Net rental real estate income (loss) (Form 1120-S, Schedule K, line 2) . .                      .   .     .
                                                                                                             -12,145.  .    .   .   .     .     .        4
  5      Income (loss) reconciliation (Form 1120-S, Schedule K, line 18) . . . .                         .   .     .
                                                                                                             -12,145.  .    .   .   .     .     .        5
 Part II      Declaration and Signature Authorization of Officer (Be sure to get a copy of the corporation’s return)

Under penalties of perjury, I declare that I am an officer of the above corporation and that I have examined a copy of the corporation’s
2019 electronic income tax return and accompanying schedules and statements and to the best of my knowledge and belief, it is true,
correct, and complete. I further declare that the amounts in Part I above are the amounts shown on the copy of the corporation’s
electronic income tax return. I consent to allow my electronic return originator (ERO), transmitter, or intermediate service provider to
send the corporation’s return to the IRS and to receive from the IRS (a) an acknowledgement of receipt or reason for rejection of the
transmission, (b) the reason for any delay in processing the return or refund, and (c) the date of any refund. If applicable, I authorize
the U.S. Treasury and its designated Financial Agent to initiate an electronic funds withdrawal (direct debit) entry to the financial
institution account indicated in the tax preparation software for payment of the corporation’s federal taxes owed on this return, and
the financial institution to debit the entry to this account. To revoke a payment, I must contact the U.S. Treasury Financial Agent at
1-888-353-4537 no later than 2 business days prior to the payment (settlement) date. I also authorize the financial institutions involved
in the processing of the electronic payment of taxes to receive confidential information necessary to answer inquiries and resolve
issues related to the payment. I have selected a personal identification number (PIN) as my signature for the corporation’s electronic
income tax return and, if applicable, the corporation’s consent to electronic funds withdrawal.



Officer’s PIN: check one box only

             I authorize                                                                           to enter my PIN                                           as my signature
                                                       ERO firm name                                                            Don’t enter all zeros
             on the corporation’s 2019 electronically filed income tax return.
             As an officer of the corporation, I will enter my PIN as my signature on the corporation’s 2019 electronically filed income tax
             return.

Officer’s signature a                                                                         Date a                            Title a PRESIDENT

Part III      Certification and Authentication

ERO’s EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.                                     1 5 8 3 8 0 5 4 7 0 3
                                                                                                                                               Don’t enter all zeros

I certify that the above numeric entry is my PIN, which is my signature on the 2019 electronically filed income tax return for the
corporation indicated above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file
Application and Participation, and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business
Returns.


ERO’s signature a                                                                                                  Date a



                                            ERO Must Retain This Form — See Instructions
                                     Don’t Submit This Form to the IRS Unless Requested To Do So

For Paperwork Reduction Act Notice, see instructions.                                             Cat. No. 37252K                                            Form 8879-S (2019)
BAA                                                                        REV 04/21/20 PRO
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   Form 1120S                       199A Statement A Summary                              2019

QuickZoom to Other Copy                                                                  Page 1

 Corporation’s Name: RAINIER INTERNATIONAL LLC Corporation’s EIN: XX-XXXXXXX



                                    4204 MIDDLEBURY LANE 4208 MIDDLEBURY
                                         PTP                     PTP               PTP
                                         Aggregated              Aggregated        Aggregated
                                         SSTB                    SSTB              SSTB

 Shareholder’s share of:
 QBI or qualified PTP items subject to shareholder-specific determinations:

  Ordinary business inc (loss)
  Rental income (loss)                       -3,023.                   -9,122.
  Royalty income (loss)
  Section 1231 gain (loss)
  Other income (loss)
  Section 179 deduction
  Charitable contributions
  Other deductions
 W-2 wages
 UBIA of qualified property                 220,000.                 220,000.

 Section 199A dividends




 Corporation’s Name:                                          Corporation’s EIN:




                                         PTP                     PTP               PTP
                                         Aggregated              Aggregated        Aggregated
                                         SSTB                    SSTB              SSTB

 Shareholder’s share of:
 QBI or qualified PTP items subject to shareholder-specific determinations:

  Ordinary business inc (loss)
  Rental income (loss)
  Royalty income (loss)
  Section 1231 gain (loss)
  Other income (loss)
  Section 179 deduction
  Charitable contributions
  Other deductions
 W-2 wages
 UBIA of qualified property

 Section 199A dividends

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                                   199A Worksheet by Activity                                         2019
                                           G Keep for your records

Corporation’s name                                                                      Corporation’s EIN
RAINIER INTERNATIONAL LLC                                                               XX-XXXXXXX


                                  Trade or Business: 4204 MIDDLEBURY LANE
   Aggregation Code:                            EIN: XX-XXXXXXX

                                  Check if activity is NOT a qualified trade/business
                                  Specified Service Trade or Business?                         X Yes           No

QBI or qualified PTP items subject to shareholder-specific determinations:

 1a    Ordinary business income (loss)                            1a
   b   Adjustments                                                 b
   c   Adjusted ordinary business income (loss)                                              1c
 2a    Rental income (loss)                                       2a          -3,023.
   b   Adjustments                                                 b
   c   Adjusted rental income (loss)                                                         2c             -3,023.
 3a    Royalty income (loss)                                      3a
   b   Adjustments                                                 b
   c   Adjusted royalty income (loss)                                                        3c
 4a    Section 1231 gain (loss)                                   4a
   b   Adjustments                                                 b
   c   Adjusted section 1231 gain (loss)                                                     4c
 5     Other income (loss)                                                                   5
 6a    Section 179 deduction                                      6a
   b   Adjustments                                                 b
   c   Adjusted section 179 deduction                                                        6c
 7     Charitable contributions                                                              7
 8     Other deductions                                                                      8
 9a    W-2 wages                                                  9a
   b   Adjustments                                                 b
   c   Adjusted W-2 Wages                                                                    9c
10 a   UBIA of qualified property                               10 a         220,000.
   b   Adjustments                                                 b
   c   Adjusted UBIA of qualified property                                                  10 c       220,000.

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                                   199A Worksheet by Activity                                         2019
                                           G Keep for your records

Corporation’s name                                                                      Corporation’s EIN
RAINIER INTERNATIONAL LLC                                                               XX-XXXXXXX


                                  Trade or Business: 4208 MIDDLEBURY
   Aggregation Code:                            EIN: XX-XXXXXXX

                                  Check if activity is NOT a qualified trade/business
                                  Specified Service Trade or Business?                         X Yes           No

QBI or qualified PTP items subject to shareholder-specific determinations:

 1a    Ordinary business income (loss)                            1a
   b   Adjustments                                                 b
   c   Adjusted ordinary business income (loss)                                              1c
 2a    Rental income (loss)                                       2a          -9,122.
   b   Adjustments                                                 b
   c   Adjusted rental income (loss)                                                         2c             -9,122.
 3a    Royalty income (loss)                                      3a
   b   Adjustments                                                 b
   c   Adjusted royalty income (loss)                                                        3c
 4a    Section 1231 gain (loss)                                   4a
   b   Adjustments                                                 b
   c   Adjusted section 1231 gain (loss)                                                     4c
 5     Other income (loss)                                                                   5
 6a    Section 179 deduction                                      6a
   b   Adjustments                                                 b
   c   Adjusted section 179 deduction                                                        6c
 7     Charitable contributions                                                              7
 8     Other deductions                                                                      8
 9a    W-2 wages                                                  9a
   b   Adjustments                                                 b
   c   Adjusted W-2 Wages                                                                    9c
10 a   UBIA of qualified property                               10 a         220,000.
   b   Adjustments                                                 b
   c   Adjusted UBIA of qualified property                                                  10 c       220,000.

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RAINIER INTERNATIONAL LLC                                                XX-XXXXXXX            1



Additional information from your 2019 US Form 1120S: Income Tax Return for S Corp

Form 1120S: S-Corporation Tax Return
Other Deductions                                                          Continuation Statement
                        Description                                       Amount
LEGAL AND PROFESSIONAL
SUPPLIES
UTILITES
                                                      Total
                                                                  Case 20-12137             Doc 1       Filed 06/09/20                  Entered 06/09/20 10:37:26                                       Desc Main
                                                                                                   Document
                                                                       Illinois Department of Revenue

                                                                       2019 Form IL-1120-ST
                                                                                                                                                *32712191W*
                                                                                                                                       Page 43 of 47


                                                                       Small Business Corporation Replacement Tax Return
                                                                       Due on or before the 15th day of the 3rd month following the close of the tax year.
                       If this return is not for calendar year 2019, enter your ﬁscal tax year here.                                                                                            Enter the amount you are paying.
                       Tax yyear beginning                   20       , ending                20
                                                                        month    day        year            month        day           year
                                                            This form is for tax years ending on or after December 31, 2019, and before December 31, 2020.
                                                            For all other situations, see instructions to determine the correct form to use.                                                    $                                            0.

Step 1: Identify your small business corporation                                                                                                               L      Enter your federal employer identiﬁcation number (FEIN).
 A Enter your complete legal business name.                                                                                                                              8       2       3       1       3         4       4    4        1
                                                    If you have a name change, check this box.                                                                 M          Check this box if you are a member of a
                                                    Name:          RAINIER INTERNATIONAL LLC                                                                          unitary business group, and enter the FEIN of
                                       B Enter your mailing address.                                                                                                  the member who prepared the Schedule UB,
                                                    Check this box if either of the following apply:                                                                  Combined Apportionment for Unitary Business
                                                    •  this is your ﬁrst return, or                                                                                   Group. Attach Schedule UB to this return.
                                                    •  you have an address change.
                                                    C/O:                                                                                                       N      Enter your North American Industry Classiﬁcation
                                                                                                                                                                      System (NAICS) Code. See instructions.
                                                    Mailing address:    2415 COMSTOCK CT
                                                                                                                                                                           5         3          2         2            8       9
                                                    City:          NAPERVILLE                            State:     IL            ZIP:     60564               O      Enter your Illinois corporate ﬁle (charter) number
                                              C If this is the ﬁrst or ﬁnal return, check the applicable box(es).                                                     issued by the Secretary of State.
                                                             First return
                                                                                                                                                                      06546838
                                                             Final return (Enter the date of termination.                              )
                                                                                                                                                               P      Enter the city, state, and zip code where your
                                                                                                            mm      dd     yyyy                                       accounting records are kept. (Use the two-letter
                                              D If this is a ﬁnal return because you sold this business, enter the date sold                                          postal abbreviation, e.g., IL, GA, etc.)
                                                    (mm dd yyyy)                            , and the new owner’s FEIN.                                               NAPERVILLE, IL 60564
                                                                                                                                                                      City                                         State             ZIP
                                                                                                                                                               Q      If you are making the business income election to
                                                  E Apportionment Formulas. Check the appropriate box or boxes and see                                                treat all nonbusiness income as business income,
                                                    the Apportionment Formula instructions.                                                                           check this box and enter zero on Lines 36 and 44.
                                                        Financial organizations                         Transportation companies                               R      If you have completed the following, check the box
                                                            Federally regulated exchanges               Sales companies                                               and attach the federal form(s) to this return.
                                          F Check this box if you attached Form IL-4562.                                                                                   Federal Form 8886           Federal Sch. M-3,
                                                                                                                                                                                                       Part II, Line 10
                                          G Check this box if you attached Illinois Schedule M (for businesses).
                                                                                                                                                               S      If you are making a discharge of indebtedness
                                          H Check this box if you attached Schedule 80/20.                                                                            adjustment on Schedule NLD, or Form IL-1120-ST,
                                            I Check this box if you attached Schedule 1299-A.                                                                         Line 48, check this box and attach federal
                                            J Check this box if you attached the Subgroup Schedule.                                                                   Form 982.
                                                                                                                                                               T      Check this box if your business activity is
                                            K Check this box if you are a 52/53 week ﬁler.
                                                                                                                                                                      protected under Public Law 86-272.

                                                   Step 2: Figure your ordinary income or loss                                                                                                                    (Whole dollars only)
Attach your payment and Form IL-1120-ST-V here.




                                                    1   Ordinary income or loss, or equivalent from federal Schedule K.                                                                                    1                         00
                                                    2   Net income or loss from all rental real estate activities.                                                                                         2             -12,145 00
                                                    3   Net income or loss from other rental activities.                                                                                                   3                         00
                                                    4   Portfolio income or loss.                                                                                                                          4                         00
                                                    5   Net IRC Section 1231 gain or loss.                                                                                                                 5                         00
                                                    6   All other items of income or loss that were not included in the computation of income or loss on
                                                        Page 1 of U.S. Form 1120-S. See instructions. Identify: ______________________________                                                             6                                 00
                                                    7 Add Lines 1 through 6. This is your ordinary income or loss.                                                                                         7               -12,145 00
                                                   Step 3: Figure your unmodiﬁed base income or loss
                                                    8 Charitable contributions.                                                                                                                           8                                  00
                                                    9 Expense deduction under IRC Section 179.                                                                                                            9                                  00
                                                   10 Interest on investment indebtedness.                                                                                                               10                                  00
                                                   11 All other items of expense that were not deducted in the computation of ordinary income or loss on
                                                      Page 1 of U.S. Form 1120-S. See instructions. Identify: ______________________________                                                             11                        00
                                                   12 Add Lines 8 through 11.                                                                                                                            12                        00
                                                   13 Subtract Line 12 from Line 7. This amount is your total unmodiﬁed base income or loss.                                                             13                -12,145 00

                                                   REV 02/11/20 PRO ID: 2BNP
                                                                                IR     NS          DR                    This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                                                                                          information is REQUIRED. Failure to provide information could result in a penalty.
                                                        IL-1120-ST (R-12/19)                                                                                                                                               Page 1 of 5
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                                                                                *32712192W*
Step 4: Figure your income or loss
   14 Enter the amount from Line 13. Unitary ﬁlers, enter the amount from Schedule UB, Step 2, Col E, Line 30. 14               -12,145 00
   15 State, municipal, and other interest income excluded from Line 14.                                           15                          00
   16 Illinois replacement tax and surcharge deducted in arriving at Line 14.                                      16                          00
   17 Illinois Special Depreciation addition. Attach Form IL-4562.                                                 17                          00
   18 Related-Party Expenses addition. Attach Schedule 80/20.                                                      18                          00
   19 Distributive share of additions. Attach Schedule(s) K-1-P or K-1-T.                                          19                          00
   20 The amount of loss distributable to a shareholder subject to replacement tax. Attach Schedule B.             20                          00
   21 Other additions. Attach Illinois Schedule M (for businesses).                                                21                          00
   22 Add Lines 14 through 21. This amount is your income or loss.                                                 22           -12,145 00

Step 5: Figure your base income or loss
   23 Interest income from U.S. Treasury or other exempt federal obligations.            23                  00
   24 Share of income distributable to a shareholder subject to replacement
      tax. Attach Schedule B.                                                            24                  00
   25 River Edge Redevelopment Zone Dividend subtraction. Attach Schedule 1299-A. 25                         00
   26 River Edge Redevelopment Zone Interest subtraction. Attach Schedule 1299-A.        26                  00
   27 High Impact Business Dividend subtraction. Attach Schedule 1299-A.                 27                  00
   28 High Impact Business Interest subtraction. Attach Schedule 1299-A.                 28                  00
   29 Contribution subtraction. Attach Schedule 1299-A.                                  29                  00
   30 Illinois Special Depreciation subtraction. Attach Form IL-4562.                    30                  00
   31 Related-Party Expenses subtraction. Attach Schedule 80/20.                         31                  00
   32 Distributive share of subtractions. Attach Schedule(s) K-1-P or K-1-T.             32                  00
   33 Other subtractions. Attach Schedule M (for businesses).                            33                  00
   34 Total subtractions. Add Lines 23 through 33.                                                                 34                          00
   35 Base income or loss. Subtract Line 34 from Line 22.                                                          35           -12,145 00
            A If the amount on Line 35 is derived inside Illinois only, check this box and enter the amount from Step 5, Line 35
              on Step 7, Line 47. You may not complete Step 6. (You must leave Step 6, Lines 36 through 46 blank.)
                      If you are a unitary ﬁler, do not check this box. Check the box on Line B and complete Step 6.
            B If any portion of the amount on Line 35 is derived outside Illinois, or you are a unitary ﬁler, check this box and
              complete all lines of Step 6. (Do not leave Lines 40 through 42 blank.) See instructions.
 Step 6: Figure your income allocable to Illinois (Complete only if you checked the box on Line B, above.)
    36 Nonbusiness income or loss. Attach Schedule NB.                                                             36                          00
    37 Business income or loss included in Line 35 from non-unitary partnerships, partnerships included on a
         Schedule UB, S corporations, trusts, or estates. See instructions.                                        37                          00
    38 Add Lines 36 and 37.                                                                                        38                          00
    39 Business income or loss. Subtract Line 38 from Line 35.                                                     39                          00
    40 Total sales everywhere. This amount cannot be negative.                           40
    41 Total sales inside Illinois. This amount cannot be negative.                      41
    42 Apportionment factor. Divide Line 41 by Line 40. Round to six decimal places. 42
    43 Business income or loss apportionable to Illinois. Multiply Line 39 by Line 42.                             43                          00
    44 Nonbusiness income or loss allocable to Illinois. Attach Schedule NB.                                       44                          00
    45 Business income or loss apportionable to Illinois from non-unitary partnerships, partnerships included on
         a Schedule UB, S corporations, trusts, or estates. See instructions.                                      45                          00
    46 Base income or loss allocable to Illinois. Add Lines 43 through 45.                                         46                          00
REV 02/11/20 PRO
                                                                                                                        ID: 2BNP
         Page 2 of 5                                                                                                    IL-1120-ST (R-12/19)
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                                                                                                *32712193W*
Step 7: Figure your net income
   47 Base income or net loss from Step 5, Line 35, or Step 6, Line 46.                                                                       47              -12,145 00
   48 Discharge of indebtedness adjustment. Attach federal Form 982. See instructions.                                                        48                    0 00
   49 Adjusted base income or net loss. Add Lines 47 and 48.                                                                                  49              -12,145 00
   50 Illinois net loss deduction. Attach Schedule NLD. If Line 49 is zero or a negative amount, enter zero.                                  50                    0 00
   51 Net income. Subtract Line 50 from Line 49.                                                                                              51              -12,145 00

Step 8: Figure your net replacement tax, surcharge, and pass-through withholding you owe
   52 Replacement tax. Multiply Line 51 by 1.5% (.015).                                                                                       52                           0 00
   53 Recapture of investment credits. Attach Schedule 4255.                                                                                  53                            00
   54 Replacement tax before investment credits. Add Lines 52 and 53.                                                                         54                           0 00
   55 Investment credits. Attach Form IL-477.                                                                                                 55                            00
   56 Net replacement tax. Subtract Line 55 from Line 54. If the amount is negative, enter zero.                                              56                           0 00
   57 Compassionate Use of Medical Cannabis Program Act surcharge. See instructions.                                                          57                            00
   58 Sale of assets by gaming licensee surcharge. See instructions.                                                                          58                            00
   59 Pass-through withholding you owe on behalf of your members. Enter the amount from
        Schedule B, Section A, Line 9. See instructions. Attach Schedule B.                                                                   59                            00
   60 Total net replacement tax, surcharges, and pass-through withholding you owe.
        Add Lines 56, 57, 58, and 59.                                                                                                         60                           0 00

Step 9: Figure your refund or balance due
   61 Payments. See instructions.
      a Credits from previous overpayments.                                                               61a                            00
        b Total payments made before the date this return is ﬁled.                                        61b                            00
        c Pass-through withholding reported to you on Schedule(s)
           K-1-P or K-1-T. Attach Schedule(s) K-1-P or K-1-T.                                             61c                            00
        d Illinois gambling withholding. Attach Form(s) W-2G.                                             61d                            00
   62   Total payments. Add Lines 61a through 61d.                                                                                            62                            00
   63   Overpayment. If Line 62 is greater than Line 60, subtract Line 60 from Line 62.                                                       63                            00
   64   Amount to be credited forward. See instructions.                                                                                      64                            00
   65   Refund. Subtract Line 64 from Line 63. This is the amount to be refunded.                                                             65                            00
   66 Complete to direct deposit your refund
          Routing Number                                                                  Checking or                Savings
          Account Number

   67 Tax Due. If Line 60 is greater than Line 62, subtract Line 62 from Line 60. This is the amount you owe. 67                                                           0 00
        If you owe tax on Line 67, complete a payment voucher, Form IL-1120-ST-V. Write your FEIN, tax year ending, and “IL-1120-ST-V” on your check
        or money order and make it payable to “Illinois Department of Revenue.” Attach your voucher and payment to the ﬁrst page of this form.
                                          Enter the amount of your payment on the top of Page 1 in the space provided.
Step 10: Sign below - Under penalties of perjury, I state that I have examined this return and, to the best of my knowledge, it is true, correct, and complete.
Sign                                                                                                                                 Check if the Department
Here                                   04 16 2020 PRESIDENT                                       ( 630) 440-4777 may discuss this return with the
        Signature of authorized ofﬁcer          Date (mm/dd/yyyy)        Title                                      Phone                      paid preparer shown in this step.

         SUSANA COYT                                                                                                                           Check if P01715144
Paid                                                                                                                                      self-employed Paid Preparer’s PTIN
         Print/Type paid preparer’s name     Paid preparer’s signature                                               Date (mm/dd/yyyy)
Preparer
         Firm’s name          TAXPERTS ASSOCIATION INC                                                                             Firm’s FEIN         475197464
Use Only
         Firm’s address       600 S Weber Rd, Romeoville, IL 60446                                                                 Firm’s phone       (815 ) 600-6784
                         If a payment is not enclosed, mail this return to:                          If a payment is enclosed, mail this return to:
                          Illinois Department of Revenue                                              Illinois Department of Revenue
                          P.O. Box 19032                                                              P.O. Box 19053
                          Springﬁeld, IL 62794-9032                                                   Springﬁeld, IL 62794-9053
                   ID: 2BNP                                                                                                                        REV 02/11/20 PRO
        IL-1120-ST (R-12/19)                 Printed by the authority of the State of Illinois - web only, 1 copy                                            Page 3 of 5
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St                 Illinois Department of Revenue
                    2019 Schedule B
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                                                                                                                             *30812191W*                                                                 Year ending
                                                                                                                                                                                                           12
                                                                                                                                                                                                         Month
                                                                                                                                                                                                                    2019
                                                                                                                                                                                                                    Year
                   Partners’ or Shareholders’ Information                                                                    Attach to your Form IL-1065 or Form IL-1120-ST.                                 IL Attachment No. 1


RAINIER INTERNATIONAL LLC                                                                                                                                             8     2   3     1    3       4     4      4    1
Enter your name as shown on your Form IL-1065 or Form IL-1120-ST.                                                                                                   Enter your federal employer identiﬁcation number (FEIN).


          Read this information ﬁrst
     •    You must read the Schedule B instructions and complete Schedule(s) K-1-P and Schedule(s) K-1-P(3) before completing this schedule.
     •    You must complete Section B of Schedule B and provide all the required information for your partners or shareholders before completing Section A of Schedule B.
          Failure to follow these instructions may delay the processing of your return or result in you receiving further correspondence from the Department. You may also be required to submit further
          information to support your ﬁling.

Section A:          Total members’ information (from Schedule(s) K-1-P and Schedule B, Section B)
          Before completing this section you must ﬁrst complete Schedule(s) K-1-P, Schedule(s) K-1-P(3) and Schedule B, Section B. You will use the amounts from those schedules when completing
          this section.

Totals for resident and nonresident partners or shareholders (from Schedule(s) K-1-P and Schedule B, Section B)
1         Enter the total of all nonbusiness income or loss you reported on Schedule(s) K-1-P for your members. See instructions.                                                    1
2         Enter the total of all income and replacement tax credits you reported on Schedule(s) K-1-P for your members. See instructions.                                            2
3         Add the amounts shown on Schedule B, Section B, Column E for all partners or shareholders on all pages for which you have entered
          a check mark in Column D. Enter the total here. See instructions.                                                                                                          3

Totals for nonresident partners or shareholders only (from Schedule B, Section B)
4         Enter the total pass-through withholding you reported on all pages of your Schedule B, Section B, Column J for your nonresident
          individual members. See instructions.                                                                                                                                      4
5         Enter the total pass-through withholding you reported on all pages of your Schedule B, Section B, Column J for your nonresident
          estate members. See instructions.                                                                                                                                          5
6         Enter the total pass-through withholding you reported on all pages of your Schedule B, Section B, Column J for your partnership
          and S corporation members. See instructions.                                                                                                                               6
7         Enter the total pass-through withholding you reported on all pages of your Schedule B, Section B, Column J for your nonresident trust
          members. See instructions.                                                                                                                                                 7
8         Enter the total pass-through withholding you reported on all pages of your Schedule B, Section B, Column J for your C corporation
          members. See instructions.                                                                                                                                                 8
9         Add Line 4 through Line 8. This is the total pass-through withholding you owe on behalf of all your nonresident partners or shareholders.
          This amount should match the total amount from Schedule B, Section B, Column J for all nonresident partners or shareholders on all pages.
          Enter the total here and on Form IL-1065 (Form IL-1065-X), Line 60, or Form IL-1120-ST (Form IL-1120-ST-X), Line 59. See instructions.    9
                                This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this                      Attach all pages of Schedule B, Section B behind this page.
                                 information is REQUIRED. Failure to provide information could result in a penalty.
          Page 4 of 5                                                                                                    REV 02/11/20 PRO                                                      Schedule B Front (R-12/19)
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                 2019 Schedule B
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                                                                                                                *30812192W*
RAINIER INTERNATIONAL LLC                                                                                                                                 8       2     3      1      3         4   4   4     1
Enter
.     your name as shown on your Form IL-1065 or Form IL-1120-ST.                                                                                       Enter your federal employer identiﬁcation number (FEIN).

Section B:                Members’ information (See instructions before completing.)
                      A                                   B          C         D                E                      F              G                       H                           I                       J
              Name and Address                          Partner     SSN     Subject to       Member’s               Excluded         Share of           Pass-through               Distributable            Pass-through
                                                          or         or        Illinois     distributable              from      Illinois income         withholding                 share of                withholding
                                                      Shareholder   FEIN   replacement        amount              pass-through       subject to             before                    credits                 amount
                                                         type                tax or an         of base             withholding   pass-through              credits
                                                                               ESOP       income or loss                           withholding
                                                                                                                                       (If Column F is blank, complete Column G through Column J. Otherwise, enter zero
1 Name HANA ABADEER                                                                                                                                              in Column G through Column J.)

 C/O
 Addr. 1 2415      COMSTOCK CT
 Addr. 2

 City      NAPERVILLE, IL 60564                          I    XXX-XX-XXXX                           -12,145           R                        0                         0                          0                      0
                                                ZIP
2 Name
 C/O

 Addr. 1
 Addr. 2

 City
                                       State    ZIP

3 Name
 C/O

 Addr. 1
 Addr. 2

 City
                                       State    ZIP

4 Name
 C/O

 Addr. 1
 Addr. 2

 City
                                       State    ZIP
5 Name
 C/O

 Addr. 1
 Addr. 2

 City
                                       State    ZIP
                     If you have more members than space provided, attach additional copies of this page as necessary.                                  Printed by the authority of the State
           Schedule B Back (R-12/19)                                                                        REV 02/11/20 PRO                            of Illinois - web only, 1 copy                  Page 5 of 5
